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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                            )
                                                )
                     Plaintiff,                 )
                                                )
       v.                                       ) C.A. No. 25-00168 (GBW)
                                                )
 KPLER HOLDING SA,                              )
                                                )
                     Defendant.                 )

  [PROPOSED] SCHEDULING ORDER [NON-PATENT; BENCH TRIAL]

       This _________ day of _____________ 20___, the Court having conducted

 an initial Rule 16(b) scheduling conference pursuant to Local Rule 16.l(b), and the

 parties having determined after discussion that the matter cannot be resolved at this

 juncture by settlement, voluntary mediation, or binding arbitration;

       IT IS ORDERED that:

       1.     Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard.

 Unless otherwise agreed to by the parties, the parties shall make their initial

 disclosures pursuant to Federal Rule of Civil Procedure 26(a)(l) by March 10,

 2025. If they have not already done so, the parties are to review the Court’s

 Default Standard for Discovery, Including Discovery of Electronically Stored

 Information (“ESI”), which is posted at http://www.ded.uscourts.gov (see Other

 Resources, Default Standard for Discovery) and is incorporated herein by

 reference.




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       2.     Joinder of Other Parties and Amendment of Pleadings. All motions to

 join other parties, and to amend or supplement the pleadings, shall be filed on or

 before April 11, 2025. Unless otherwise ordered by the Court, any motion to join a

 party or motion to amend the pleadings shall be made pursuant to the procedures

 set forth in Paragraphs 3(g) and 4.

       3.     Discovery. Unless otherwise ordered by the Court or agreed to by

 parties, the limitations on discovery set forth in the Federal Rules of Civil

 Procedure shall be strictly observed.

              (a)    Fact Discovery Cut Off. All fact discovery in this case shall be

 initiated so that it will be completed on or before April 30, 2025.

              (b)    Document Production. Document production shall be

 substantially complete by April 18, 2025.

              (c)    Requests for Admission. A maximum of 15 requests for

 admission are permitted for each side.

              (d)    Interrogatories.

                     i.     A maximum of 10 interrogatories, including contention

 interrogatories, are permitted for each side.

                     ii.    The Court encourages the parties to serve and respond to

 contention interrogatories early in the case. In the absence of agreement among

 the parties, contention interrogatories, if filed, shall first be addressed by the party



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 with the burden of proof. The adequacy of all interrogatory answers shall be

 judged by the level of detail each party provides (i.e., the more detail a party

 provides, the more detail a party shall receive).

              (e)    Depositions.

                     i.     Limitation on Hours for Deposition Discovery. Each

 side is limited to a total of forty-two (42) hours of taking testimony by deposition

 upon oral examination.

              (f)    Disclosure of Expert Testimony.

                     i.     Expert Reports. For the party who has the initial burden

 of proof on the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2)

 disclosure of expert testimony is due on or before April 18, 2025. The

 supplemental disclosure to contradict or rebut evidence on the same matter

 identified by another party is due on or before May 9, 2025. No other expert

 reports will be permitted without either the consent of all parties or leave of the

 Court. Along with the submissions of the expert reports, the parties shall advise of

 the dates and times of their experts’ availability for deposition.

                     ii.    Objections to Expert Testimony. To the extent any

 objection to expert testimony is made pursuant to the principles announced in

 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), as

 incorporated in Federal Rule of Evidence 702, it shall be made by motion no later



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 than May 22, 2025, unless otherwise ordered by the Court. Briefing will be

 presented pursuant to the Court’s Local Rules.

                     iii.   Expert Discovery Cut Off. All expert discovery in this

 case shall be initiated so that it will be completed on or before May 15, 2025.

              (g)    Discovery Matters and Disputes Relating to Protective Orders.

                     i.     Any discovery motion filed without first complying with

 the following procedures will be denied without prejudice to renew pursuant to

 these procedures.

                     ii.    Should counsel find, after good faith efforts – including

 verbal communications among Delaware and Lead Counsel for all parties to the

 dispute - that they are unable to resolve a discovery matter or a dispute relating to a

 protective order, the parties involved in the discovery matter or protective order

 dispute shall submit a joint letter in substantially the following form:

                     Dear Judge Williams:

                            The parties in the above-referenced matter
                     write to request the scheduling of a discovery
                     teleconference.

                           The following attorneys, including at least
                     one Delaware Counsel and at least one Lead
                     Counsel per party, participated in a verbal
                     meet-and-confer (in person and/or by telephone)
                     on the following date(s): _________________

                     Delaware Counsel: ________________

                     Lead Counsel: ____________________

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                            The disputes requiring judicial attention are
                     listed below:

                     [provide here a non-argumentative list of disputes
                     requiring judicial attention]

                     iii.   On or before May 2, 2025, the party seeking relief shall

 file with the Court a letter, not to exceed three (3) pages, outlining the issues in

 dispute and its position on those issues. On or before May 6, 2025, any party

 opposing the application for relief may file a letter, not to exceed three (3) pages,

 outlining that party’s reasons for its opposition.

                     iv.    Each party shall submit two (2) courtesy copies of its

 discovery letter and any attachments.

                     v.     Should the Court find further briefing necessary upon

 conclusion of the telephone conference, the Court will order it. Alternatively, the

 Court may choose to resolve the dispute prior to the telephone conference and will,

 in that event, cancel the conference.

       4.     Motions to Amend.

              (a)    Any motion to amend (including a motion for leave to amend) a

 pleading shall NOT be accompanied by an opening brief but shall, instead, be

 accompanied by a letter, not to exceed three (3) pages, describing the basis for the

 requested relief, and shall attach the proposed amended pleading as well as a

 “blackline” comparison to the prior pleading.



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              (b)    Within seven (7) days after the filing of a motion in compliance

 with this Order, any party opposing such a motion shall file a responsive letter, not

 to exceed five (5) pages.

              (c)    Within three (3) days thereafter, the moving party may file a

 reply letter, not to exceed two (2) pages, and, by this same date, the parties shall

 file a letter requesting a teleconference to address the motion to amend.

       5.     Motions to Strike.

              (a)    Any motion to strike any pleading or other document shall

 NOT be accompanied by an opening brief but shall, instead, be accompanied by a

 letter, not to exceed three (3) pages, describing the basis for the requested relief,

 and shall attach the document to be stricken.

              (b)    Within seven (7) days after the filing of a motion in compliance

 with this Order, any party opposing such a motion shall file a responsive letter, not

 to exceed five (5) pages.

              (c)    Within three (3) days thereafter, the moving party may file a

 reply letter, not to exceed two (2) pages, and, by this same date, the parties shall

 file a letter requesting a teleconference to address the motion to strike.

       6.     Case Dispositive Motions. Absent agreement between the parties, and

 prior approval from the Court, the Court will not hear case dispositive motions in

 cases proceeding to a bench trial.



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       7.     Applications by Motion. Except as otherwise specified herein, any

 application to the Court shall be by written motion. Any non-dispositive motion

 should contain the statement required by Local Rule 7.1.1.

       8.     Motions in Limine. Motions in limine shall not be separately filed.

 All in limine requests and responses thereto shall be set forth in the proposed

 pretrial order. Each party shall be limited to three (3) in limine requests, unless

 otherwise permitted by the Court. The in limine request and any response shall

 contain the authorities relied upon; each in limine request may be supported by a

 maximum of three (3) pages of argument, may be opposed by a maximum of three

 (3) pages of argument, and the party making the in limine request may add a

 maximum of one (1) additional page in reply in support of its request. If more than

 one party is supporting or opposing an in limine request, such support or

 opposition shall be combined in a single three (3) page submission (and, if the

 moving party, a single one (1) page reply), unless otherwise ordered by the Court.

 No separate briefing shall be submitted on in limine requests, unless otherwise

 permitted by the Court.

       9.     Pretrial Conference. On May 23, 2025, the Court will hold a pretrial

 conference in Court with counsel beginning at _____ .m. The parties shall file

 with the Court the joint proposed final pretrial order in compliance with Local Rule

 16.3(c) and the Court’s Preferences and Procedures for Civil Cases on or before



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 May 19, 2025. The Court will advise the parties at or before the above-scheduled

 pretrial conference whether an additional pretrial conference will be necessary.

              The parties shall provide the Court two (2) courtesy copies of the joint

 proposed final pretrial order and all attachments. The proposed final pretrial order

 shall contain a table of contents and the paragraphs shall be numbered.

       10.    Application to Court for Protective Order. Should counsel find it will

 be necessary to apply to the Court for a protective order specifying terms and

 conditions for the disclosure of confidential information, counsel should confer and

 attempt to reach an agreement on a proposed form of order and submit it to the

 Court by March 7, 2025. Should counsel be unable to reach an agreement on a

 proposed form of order, counsel must follow the provisions of Paragraph 3(g)

 above.

              Any proposed protective order must include the
              following paragraph:

              Other Proceedings. By entering this order and limiting
              the disclosure of information in this case, the Court does
              not intend to preclude another court from finding that
              information may be relevant and subject to disclosure in
              another case. Any person or party subject to this order
              who becomes subject to a motion to disclose another
              party’s information designated “confidential” [the parties
              should list any other level of designation, such as “highly
              confidential,” which may be provided for in the
              protective order] pursuant to this order shall promptly
              notify that party of the motion so that the party may have
              an opportunity to appear and be heard on whether that
              information should be disclosed.


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       11.    Papers Filed Under Seal. In accordance with section G of the Revised

 Administrative Procedures Governing Filing and Service by Electronic Means, a

 redacted version of any sealed document shall be filed electronically within seven

 (7) days of the filing of the sealed document.

       12.    Courtesy Copies. The parties shall provide to the Court two (2)

 courtesy copies of filings (i.e., briefs, appendices, exhibits, declarations, affidavits

 etc.). Courtesy copies of appendices and exhibits should include hard tabs. This

 provision also applies to papers filed under seal.

       13.    ADR Process. This matter is referred to a magistrate judge to explore

 the possibility of alternative dispute resolution.

       14.    Trial. This matter is scheduled for a 3-day bench trial beginning at

 9:30 a.m. on May 28, 2025, with the subsequent trial days beginning at 9:30 a.m.

 The trial will be timed, as counsel will be allocated a total number of hours in

 which to present their respective cases.




                                          The Honorable Gregory B. Williams
                                          United States District Judge




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                 Counsel Shall Provide a Chart of All Relevant Deadlines

  EVENT                                                                    DEADLINE
  Deadline for Plaintiff to file proof of service of the Complaint or an   Friday, Feb. 28
  executed waiver of service under Fed. R. Civ. P. 4.
  Deadline for Parties to submit a proposed protective order.              Friday, March 7

  Defendant to answer or otherwise respond to the Complaint.               Monday, March 10
  Deadline to exchange initial disclosures pursuant to Rule 26(a)(1).      Monday, March 10
  Deadline to serve initial requests for production of documents,          Friday, March 14
  interrogatories, and requests for admission.
  Deadline for serving initial discovery requests on third parties.        Monday, March 17
  R&Os to initial party discovery requests due.                            Friday, March 21
  Deadline to serve final requests for production of documents and         Tuesday, March 25
  final interrogatories, with any subsequent requests permitted with
  leave from the Court for good cause only absent party agreement.
  R&Os to any additional discovery requests due.                           Tuesday, April 1
  Deadline to move to join parties or amend/supplement pleadings           Friday, April 11
  Deadline for the parties to substantially complete document              Friday, April 18
  productions.
  Parties to exchange opening expert reports along with all materials Friday, April 18
  relied upon by the experts. Any materials relied upon by the experts
  previously produced to the opposing party in discovery need not be
  re-produced but must be identified by Bates number.
  Deadline to exchange privilege logs.                                     Wednesday, April 23
  Deadline to meet-and-confer concerning all outstanding discovery         Friday, April 25
  disputes.
  Deadline to complete fact discovery, including depositions, except Wednesday, April 30
  for any fact discovery subject to a motion to compel or motion for a
  protective order pending as of this date.
  Deadline to request a pre-motion discovery teleconference via            Friday, May 2
  letter, not to exceed three pages, outlining the issues in dispute and
  the party’s position on those issues.
  Deadline to file opposition to the application for relief sought         Tuesday, May 6
  through the pre-motion discovery conference, via letter not to
  exceed three pages.




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  Deadline to exchange rebuttal expert reports and all materials relied Friday, May 9
  upon by the experts. Any materials relied upon by the experts
  previously produced to the opposing party in discovery need not be
  re-produced but must be identified by Bates number.
  Discovery teleconference (as needed).                                      Tuesday, May 13
  Deadline to complete expert depositions                                    Thursday, May 15
  Parties to simultaneously exchange final list of all trial witnesses.      Thursday, May 15
  Any trial witness not previously deposed may be deposed
  reasonably promptly after this date.
  Plaintiff’s counsel to provide Defendant’s counsel a draft of the          Thursday, May 15
  joint pretrial order.
  Defendant’s counsel to provide Plaintiff’s counsel a markup of the         Saturday, May 17
  draft pre-trial order.
  Deadline to file objections to expert testimony                            Monday, May 19
  Deadline to submit joint proposed final pre-trial order, including in      Monday, May 19
  limine requests and responses, and identification of anticipated trial
  witnesses, exhibit lists and all other information required under
  Local Rule 16.3(c).
  Deadline to file responses to objections expert testimony.                 Thursday, May 22
  Pre-trial conference.                                                      Friday, May 23
  Simultaneous filing of pre-trial briefs.                                   Friday, May 23
  Trial.                                                                     Wednesday, May 28,
                                                                             through Friday, May 30
  Filing of post-trial briefs and proposed findings of fact and              Friday, June 13
  conclusions of law.




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